     Case 2:07-cr-00145-KJD-BNW             Document 1490         Filed 11/20/15     Page 1 of 2




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 7
                                 UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                                  Case No. 2:07-cr-145-KJD-PAL-9

11                  Plaintiff,                                   STIPULATION TO EXTEND
                                                                DEADLINES IN THIS COURT’S
12          v.
                                                                 OCTOBER 6, 2015 ORDER BY
13   KORY ALLEN CROSSMAN,                                            THIRTY (30) DAYS

14                  Defendant.                                          (Third Request)

15
16          The United States of America, by Assistant United States Attorney Elizabeth Olson
17   White, and Defendant Kory Allen Crossman, by Assistant Federal Public Defender Nisha
18   Brooks-Whittington, submit the following Joint Stipulation to extend, by thirty (30) days, all of
19   the deadlines set in this Court's Order dated October 6, 2015. See CR # 1485.
20          The parties agree and stipulate to the following:
21          1.      On November 26, 2008, this Court sentenced Defendant to 140 months'
22   imprisonment on his conviction for drug-related offenses. CR # 437.
23          2.      On March 23, 2015, undersigned counsel filed a motion for appointment of
24   counsel pursuant to 18 U.S.C. § 3006A and Local Rule 44-1 on behalf of Mr. Crossman to
25   determine whether he may qualify to seek a reduction of his sentence in light of Guidelines
26   Amendment 782 and 18 U.S.C. § 3582(c)(2). CR # 1474.
     Case 2:07-cr-00145-KJD-BNW             Document 1490         Filed 11/20/15      Page 2 of 2




 1          3.      On April 8, 2015, this Court issued an Order appointing the Federal Public
 2   Defender to represent Defendant, and setting deadlines. Specifically, the Court ordered the
 3   Probation Office to provide certain documents to the parties within 30 days (i.e., by
 4   May 8, 2015) and ordered the Federal Public Defender to file any appropriate motion or
 5   stipulation within 120 days (i.e., by August 6, 2015). CR # 1475.
 6          4.      On August 6, 2015, the parties filed a joint stipulation to extend the deadlines in
 7   this Court’s April 8, 2015 Order by 60 days. CR 1480. On August 18, 2015, the Court granted
 8   the stipulation. CR 1482. The parties filed a second stipulation to extend the deadlines, which
 9   was granted on October 6, 2015. CR # 1484, 1485.
10          5.      Since the last stipulation was filed, the parties have received Mr. Crossman’s
11   disciplinary hearing and progress report records. Defense counsel, however, needs additional
12   time to review those records and file the motion for a sentence reduction.
13          6.      For the reason stated above, the parties respectfully request that the Court issue
14   an order extending the deadlines in the Court's October 6, 2015 Order by thirty (30) days.
15          DATED this 18th day of November, 2015.
16                                                   Respectfully submitted,
17
18    RENE L. VALLADARES                             DANIEL G. BOGDEN
      Federal Public Defender                        United States Attorney
19
      /s/ Nisha Brooks-Whittington                   /s/ Elizabeth O. White
20
      NISHA BROOKS-WHITTINGTON                       ELIZABETH O. WHITE
21    Assistant Federal Public Defender              Appellate Chief and
                                                     Assistant United States Attorney
22
23    DATED: _________________
              November 19, 2015                           IT IS SO ORDERED
24
25                                                        ____________________
                                                          U.S. DISTRICT JUDGE
26                                                        KENT J. DAWSON
                                                      2
